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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

LULA WILLIAMS, et al.,

       Plaintiffs,

v.                                                            Civil Action No. 3:19-cv-00085

MICROBILT CORPORATION, et al.,

                       Defendants.

     MEMORANDUM IN SUPPORT OF CONSENT MOTION TO EXTEND CERTAIN
                       DISCOVERY DEADLINES

       The Plaintiffs, by counsel and with the consent of the Defendants, by counsel, have moved

the Court for a 30-day extension of the deadlines listed in the Court’s May 5, 2020 Order (ECF

No. 266), a 45-day enlargement of the deadline in the Court’s Memorandum Order (ECF No. 252),

and a 45-day enlargement of Plaintiffs’ Opposition to Defendants’ Motion to Reconsider the

Court’s Memorandum Order (ECF 256).

       Under Rule 6, Parties may seek an extension of any pending deadlines for good cause. Fed.

R. Civ. P. 6(b)(1)(A). Here, there is good cause for the requested extension. Following the May 5

bifurcation hearing, the Parties have worked diligently to complete the work outlined by the Court.

They have exchanged several emails, had telephone calls, and a meet-and-confer call on May 9,

2022. Through these discussions, it has become clear that the best use of the Parties’ resources is

to explore the possibility of settling the case. To that end, the Parties have already contacted Judge

Colombell’s chamgers and scheduled a settlement conference for June 22, 2022.

       The Parties have also discussed the outstanding discovery issues. However, it is Plaintiffs’

counsel’s firm belief that pressing these issues prior to the settlement conference will be

unproductive and will hinder the Parties’ ability to meaningful explore a settlement outcome. The
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Parties already have a good understanding of the claims and defenses in this case, which although

are not sufficient for trial, have fully informed them as to the settlement issues in this litigation.

Because Plaintiffs’ counsel would like the best opportunity to resolve this case, they are seeking a

30-day extension of the deadlines in the Court’s May 5, 2022 Order (ECF No. 266), a 45-day

enlargement of the deadline in the Court’s Memorandum Order (ECF No. 252), and a 45-day

enlargement of Plaintiffs’ Opposition to Defendants’ Motion to Reconsider the Court’s

Memorandum Order (ECF 256). Notably, Plaintiffs will still have to comply with some of the

Court’s deadlines prior to the scheduled settlement conference, so if the settlement conference is

unsuccessful, any delay to resolution would be minimal. Plaintiffs’ counsel understands that this

case has been pending on the Court’s docket for a long time, but want to reassure the Court that

they will put their best efforts into resolving this case promptly. Should the case not resolve at the

June 22, 2022 settlement conference, discovery and move the case forward shortly thereafter.

       For these reasons, there is good cause to grant the extension. Again, Plaintiffs’ counsel is

mindful of the Court’s docket, but represents that the extension is not sought to cause any

additional delay, but to try and aid the swift resolution of the case through settlement. Accordingly,

the Plaintiffs ask that the Court grant their Motion and entered the Proposed Order.

                                                      Respectfully submitted,
                                                      PLAINTIFFS

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